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                                   3                                UNITED STATES DISTRICT COURT

                                   4
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   5

                                   6

                                   7   UNITED STATES OF AMERICA,
                                   8                  Plaintiff,                            No. CR 14-00175 WHA

                                   9           v.

                                  10   PACIFIC GAS AND ELECTRIC                             POST-HEARING ADDITIONAL
                                       COMPANY,                                             REQUEST FOR RESPONSES
                                  11
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14        In addition to the supplements requested at yesterday’s hearing, PG&E will please

                                  15   provide a re-write of proposed Conditions of Probation 11 and 12, including consideration of

                                  16   priority one and two trees, plus a succinct summary of the additional “strike tree” factor for

                                  17   possible inclusion in any final order.

                                  18        With respect to the problems associated with PSPS events referenced by counsel for the

                                  19   CPUC at yesterday’s hearing, please remind the Court of PG&E’s mitigation efforts.

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                                  21        Please do this by MARCH 29 AT NOON.

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                                  23        IT IS SO ORDERED.

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                                  25   Dated: March 24, 2021.

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                                                                                              WILLIAM ALSUP
                                  28                                                          UNITED STATES DISTRICT JUDGE
